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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                                       )
 In re:                                                )   Chapter 7
                                                       )
 ALEXANDER E. JONES,                                   )   Case No. 22-33553 (CML)
                                                       )
                               Debtor.                 )
                                                       )

                             NOTICE OF APPEARANCE AND
                           DEMAND FOR SERVICE OF PAPERS

          PLEASE TAKE NOTICE that the undersigned hereby appears in the above-captioned

cases on behalf of X Corp. (“X Corp.”) and, pursuant to Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”) 2002, 3017(a), 9007, and 9010(b) and section 1109(b) of chapter 11 of

title 11 of the United States Code (the “Bankruptcy Code”), hereby requests that any and all

notices given or required to be given in these cases and all papers served or required to be served

in these cases, be delivered to and served upon the person(s) listed below at the following

addresses, telephone, and facsimile numbers:

                              Caroline A. Reckler
                              LATHAM & WATKINS LLP
                              330 North Wabash Avenue, Suite 2800
                              Chicago, IL 60611
                              Telephone: (312) 876-7700
                              Facsimile: (312) 993-9767
                              Email: caroline.reckler@lw.com

                              -and-

                              Christopher Harris
                              Andrew D. Sorkin
                              Jonathan J. Weichselbaum
                              LATHAM & WATKINS LLP
                              1271 Avenue of the Americas
                              New York, NY 10020
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                               Telephone: (212) 906-1200
                               Facsimile: (212) 751-4864
                               Email: christopher.harris@lw.com
                                      andrew.sorkin@lw.com
                                      jon.weichselbaum@lw.com

       PLEASE TAKE FURTHER NOTICE that the foregoing request includes not only the

notices and papers referred to in the Bankruptcy Code provision and Bankruptcy Rules specified

above, but also includes, without limitation, all orders, notices, hearing dates, applications,

motions, petitions, requests, complaints, demands, replies, answers, schedules of assets and

liabilities and statements of affairs, operating reports, plans of reorganization and liquidation, and

disclosure statements, whether formal or informal, whether written or oral and whether transmitted

or conveyed by mail, hand delivery, telephone, electronic mail, or otherwise, that is filed or given

in connection with the above-captioned cases and the proceedings therein.

       PLEASE TAKE FURTHER NOTICE that this request shall not be deemed or construed

to be a consent to the jurisdiction of the Bankruptcy Court for the Southern District of Texas or a

waiver of any substantive or procedural rights of X Corp., including: (1) to have final orders in

non-core matters entered only after de novo review by the United States District Court for the

Southern District of Texas (the “District Court”); (2) to have a trial by jury in any proceeding so

triable in these chapter 11 cases or any case, controversy, or proceeding related to these chapter 11

cases; (3) to have the District Court withdraw the reference in any matter subject to mandatory or

discretionary withdrawal; and (4) any other rights, claims, actions, defenses, setoffs or

recoupments to which X Corp. may be entitled under agreements in law, in equity, or otherwise,

including to have disputes resolved by arbitration, all of which rights, claims, actions, defenses,

setoffs and recoupments are expressly reserved.



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Dated: November 14, 2024   Respectfully submitted,

                           /s/ Caroline A. Reckler
                           Caroline A. Reckler
                           LATHAM & WATKINS LLP
                           330 North Wabash Avenue, Suite 2800
                           Chicago, IL 60611
                           Telephone: (312) 876-7700
                           Facsimile: (312) 993-9767
                           Email: caroline.reckler@lw.com


                           Counsel to X Corp.




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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was served by

electronic mail via the Court’s ECF system to all parties authorized to receive electronic notice in

this case on November 14, 2024.

                                                     /s/ Caroline A. Reckler
                                                        Caroline A. Reckler




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